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 7

 8
                       UNITED STATES DISTRICT COURT
 9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                           )   Case No.:
11   ERICA LOVE,                           )
                                           )   COMPLAINT FOR DAMAGES
12                Plaintiff,               )   1. VIOLATION OF THE FAIR
13
          v.                               )   DEBT COLLECTION PRACTICES
                                           )   ACT, 15 U.S.C. §1692 ET. SEQ.;
14   FMS, INC.,                            )   2. VIOLATION OF THE
                                           )   ROSENTHAL FAIR DEBT
15
                     Defendant.            )   COLLECTION PRACTICES ACT,
16                                         )   CAL. CIV. CODE §1788 ET. SEQ.
                                           )
17                                         )   JURY TRIAL DEMANDED
18

19                                  COMPLAINT
20
          ERICA LOVE (“Plaintiff”), by and through her attorneys, KIMMEL &
21
     SILVERMAN, P.C., alleges the following against FMS, INC. (“Defendant”):
22

23

24

25



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                                  PLAINTIFF’S COMPLAINT
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                                     INTRODUCTION
 1

 2         1.     Plaintiff’s Complaint is based on the Fair Debt Collection Practices
 3
     Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and the Rosenthal Fair Debt Collection
 4
     Practices Act, cal. Civ. Code §1788, et seq. (“RFDCPA”).
 5

 6
                              JURISDICTION AND VENUE

 7         2.     Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
 8
     which states that such actions may be brought and heard before “any appropriate
 9
     United States district court without regard to the amount in controversy,” and 28
10

11   U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising

12   under the laws of the United States.
13
           3.     Defendant conducts business in the State of California and as such,
14
     personal jurisdiction is established.
15

16         4.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
17                                           PARTIES
18
           5.     Plaintiff is a natural person residing in San Bernardino, California
19
     92410.
20

21         6.     Plaintiff is a “consumer” as that term is defined by 15 U.S.C.
22
     §1692a(3).
23
           7.     In the alternative, Plaintiff is a person granted a cause of action
24

25
     under the FDCPA. See §1692 (k)(a) and Wenrich v. Cole, 2000 U.S. Dist. LEXIS


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                                    PLAINTIFF’S COMPLAINT
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     18687 (E.D. Pa. Dec. 22, 2000).
 1

 2         8.     Defendant is a national debt collection company with its corporate
 3
     headquarters located at 4915 South Union, Tulsa, Oklahoma 74107.
 4
           9.     Defendant is a “debt collector” as that term is defined by 15 U.S.C. §
 5

 6
     1692a(6), and repeatedly contacted Plaintiff in an attempt to collect a debt.

 7         10.    Defendant acted through its agents, employees, officers, members,
 8
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
 9
     representatives, and insurers.
10

11                             FACTUAL ALLEGATIONS

12         11.    At all relevant times herein, Defendant contacted Plaintiff in its
13
     attempts to collect a consumer debt.
14
           12.    Plaintiff does not have any business debts, so the debt that
15

16   Defendant has been contacting Plaintiff regarding could only have been a debt
17   incurred for personal, family or household purposes.
18
           13.    By way of background, Defendant began calling Plaintiff in
19
     February 2016.
20

21         14.    Defendant’s calls originated from the numbers including, but not
22
     limited to; (800) 580-7611. The undersigned has confirmed that this number
23
     belongs to Defendant.
24

25
           15.    Upon initial communication with Plaintiff, Defendant’s collector


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                                      PLAINTIFF’S COMPLAINT
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     requested to speak with an unknown individual named Randolph Vasquez.
 1

 2         16.    Plaintiff informed Defendant that it had the wrong number when the
 3
     calls first began in February 2016, and as such, to cease all future communication
 4
     regarding the matter to her cellular telephone.
 5

 6
           17.    Defendant heard and acknowledged Plaintiff’s request to stop calling

 7   by responding that they were sorry for the calls.
 8
           18.    Once Defendant was informed it was calling a wrong number and to
 9
     stop calling, there was no lawful purpose to making further calls, nor was there
10

11   any good faith reason to place additional calls to Plaintiff’s cellular telephone.

12         19.    Rather than restrict its calls to Plaintiff’s cellular telephone,
13
     Defendant instead continued to call Plaintiff in March 2016.
14
           20.    These calls were frustrating and irritating for Plaintiff, so she
15

16   downloaded a blocking application to stop these calls after Defendant failed to
17   stop calling her.
18
                               COUNT I
19        DEFENDANT VIOLATED §§ 1692d AND 1692d(5) OF THE FDCPA
20
           21.    A debt collector violates § 1692d by engaging in any conduct the
21
     natural consequence of which is to harass, oppress, or abuse any person in
22

23   connection with the collection of a debt.

24         22.    A debt collector violates § 1692d(5) by causing a telephone to ring
25
     or engaging any person in a telephone conversation repeatedly or continuously

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                                    PLAINTIFF’S COMPLAINT
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     with intent to annoy, abuse, or harass any person at the called number.
 1

 2         23.     Defendant violated §§ 1692d and 1692d(5) when it called Plaintiff
 3
     excessively per day regarding an unknown third party named Randolph Vasquez
 4
     and continued to call Plaintiff repeatedly each day despite informing Defendant
 5

 6
     they were calling a wrong number and to stop calling her cellular telephone

 7   number in February 2016.
 8

 9

10
                             COUNT II
11                   DEFENDANT VIOLATED THE
           ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
12

13
           24.     Section 1788.17 of the California Civil Code mandates that every

14   debt collector attempting to collect a consumer debt shall comply with § 1692b
15
     through § 1692j of the FDCPA.
16
           25.     Defendant violated Cal. Civ. Code § 1788.17, when it violated the
17

18   FDCPA for the reasons set forth in this Complaint.

19

20
           WHEREFORE, Plaintiff, ERICA LOVE, respectfully prays for a judgment
21
     as follows:
22

23                 a.    All   actual    damages    suffered   pursuant   to   15   U.S.C.

24                       §1692k(a)(1);
25



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                                    PLAINTIFF’S COMPLAINT
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                   b.      Statutory damages of $1,000.00 for the violation of the
 1

 2                         FDCPA pursuant to 15 U.S.C. §1692k(a)(2)(A);
 3
                   c.      All reasonable attorneys’ fees, witness fees, court costs and
 4
                           other litigation costs incurred by Plaintiff pursuant to 15
 5

 6
                           U.S.C. §1693k(a)(3);

 7                 d.      All actual damages, statutory damages, reasonable attorney’s
 8
                           fees and costs, and any other litigation costs incurred by
 9
                           Plaintiff pursuant to the RFDCPA at Cal. Civ. Code § 1788.17;
10

11                 e.      Any other relief deemed appropriate by this Honorable Court.

12                              DEMAND FOR JURY TRIAL
13
            PLEASE TAKE NOTICE that Plaintiff, ERICA LOVE, demands a jury
14
     trial in this case.
15

16                                           RESPECTFULLY SUBMITTED,
17

18   Date: March 3, 2017                     By: /s/ Amy L. Bennecoff Ginsburg
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                                     PLAINTIFF’S COMPLAINT
